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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    Z GALLERIE, LLC, et al., 1                                       ) Case No. 19-10488 (LSS)
                                                                     )
                                       Debtors.                      ) (Jointly Administered)
                                                                     )

                    NOTICE OF DEBTORS’ APPLICATION FOR AN
          ORDER (I) AUTHORIZING THE EMPLOYMENT AND RETENTION OF
         LAZARD FRÈRES & CO. LLC AND LAZARD MIDDLE MARKET LLC AS
       INVESTMENT BANKER TO THE DEBTORS AND DEBTORS IN POSSESSION,
        EFFECTIVE NUNC PRO TUNC TO THE PETITION DATE, (II) APPROVING
         THE TERMS OF THE LAZARD AGREEMENT, (III) WAIVING CERTAIN
        TIME-KEEPING REQUIREMENTS PURSUANT TO LOCAL RULE 2016-2(H)

        PLEASE TAKE NOTICE that, on March 20, 2019 the above-captioned debtors and
debtors in possession (the “Debtors”) filed the Debtors’ Application for Entry of an Order (I)
Authorizing the Employment and Retention of Lazard Frères & Co. LLC and Lazard Middle
Market LLC as Investment Banker to the Debtors and Debtors in Possession,
Effective Nunc Pro Tunc To the Petition Date, (II) Approving the Terms of the Lazard Agreement,
(III) Waiving Certain Time-Keeping Requirements Pursuant to Local Rule 2016-2(H), and
(IV) Granting Related Relief (the “Application”) with the United States Bankruptcy Court for the
District of Delaware (“Bankruptcy Court”).

        PLEASE TAKE FURTHER NOTICE that any responses to the Application must be in
writing and filed with the Clerk of the United States Bankruptcy Court for the District of Delaware,
824 Market Street, Third Floor, Wilmington, Delaware 19801, and served upon the undersigned,
so as to be received on or before 4:00 p.m. (prevailing Eastern Time) on April 3, 2019.

      PLEASE TAKE FURTHER NOTICE THAT, IF AN OBJECTION IS PROPERLY
FILED AND SERVED IN ACCORDANCE WITH THE ABOVE PROCEDURES, A HEARING
WILL BE HELD ON APRIL 10, 2019 at 10:00 a.m. BEFORE THE HONORABLE LAURIE
SELBER SILVERSTEIN, UNITED STATES BANKRUPTCY JUDGE FOR THE DISTRICT
OF DELAWARE, 824 MARKET STREET, COURT ROOM #2, SIXTH FLOOR,
WILMINGTON, DELAWARE 19801. ONLY OBJECTIONS MADE IN WRITING AND
TIMELY FILED WILL BE CONSIDERED BY THE BANKRUPTCY COURT AT SUCH
HEARING.



1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are Z Gallerie, LLC (3816) and Z Gallerie Holding Company, LLC (5949). The location of the Debtors’
      service address is: 1855 West 139th Street, Gardena, CA 90249.
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     IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF DEMANDED BY THE APPLICATION WITHOUT FURTHER
NOTICE OR HEARING.

Dated: March 20, 2019           /s/ Domenic E. Pacitti
Wilmington, Delaware            Domenic E. Pacitti (DE Bar No. 3989)
                                Michael W. Yurkewicz (DE Bar No. 4165)
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                                Proposed Co-Counsel for the Debtors and Debtors in Possession
